          Case 1:01-cv-12257-PBS Document 7615-1 Filed 06/23/11 Page 1 of 1




                          UNITED STATES DISTRICT C OURT
                           DISTR
                               I CT OF MASSACHUSETTS


                                                      )
IN RE PHARMACEUTICAL INDUS TRY                        )   MDL NO. 1 45 6
AVERAGE WHOLE SALE PRI CE LITIGATION                  )   Civil Action No. 0 1 - 1 2257-PBS
                                                      )   Subcategory No . 03- 1 0643-PBS
                                                      )
THI S D OCUMENT RELATES TO :                          )
                                                      )   Judge Patti B . Saris
The City ofNew York, et al. v. Abbott Laboratories,   )
Inc. , et al.                                         )



      [PROPOSED] ORDER OF DISMISSALOF PLAINTIFFS' CLAIMS AGAINST
            DEFENDANT NOVARTIS PHARMACEUTICALS CORPORATION

          The Motion for Dismissal is hereby GR
                                              ANTED .        All Claims in this action against

Defendant Novartis Pharmaceuticals Corporation are dismissed with prej udice and without costs

to may party.




          IT IS S O ORDEPdED




Dated :                    , 20 1 1




                                            The Honorable Patti B . Saris
                                            United States District Cour
                                                                      t Judge
